  Case 1:18-cv-01209-JTN-ESC ECF No. 1 filed 10/26/18 PageID.1 Page 1 of 16



                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

 CASEY GRITTER, the Natural Mother and
 Next Friend of JOSEPH GRITTER, a minor,

                Plaintiff,                              Case No: 1:18-CV-1209
                                                        Hon.
 vs.

 COMSTOCK PARK PUBLIC SCHOOLS
 and JASON RYKSE,

             Defendants.
___________________________________/

 DAVID E. CHRISTENSEN (P45374)
 SARAH S. STEMPKY KIME (P74167)
 CHRISTENSEN LAW
 Attorneys for Plaintiff
 25925 Telegraph Road, Suite 200
 Southfield, MI 48033
 (248) 213-4900/Fax (248) 213-4901
 dchristensen@davidchristensenlaw.com
___________________________________/

                     COMPLAINT AND DEMAND FOR JURY TRIAL

       There is no other pending or resolved civil action arising out of the transaction or
       occurrence alleged in the complaint.

                       /s/DAVID E. CHRISTENSEN
                       David E. Christensen


       NOW COMES Plaintiff, CASEY GRITTER as next friend of JOSEPH GRITTER, a

minor, by and through her attorneys, CHRISTENSEN LAW, and states as follows;

                                JURISDICTION AND VENUE

       1.      Defendant Comstock Park Public Schools is an accredited public school district

authorized by the statutes of the State of Michigan.
  Case 1:18-cv-01209-JTN-ESC ECF No. 1 filed 10/26/18 PageID.2 Page 2 of 16



       2.      Defendant, Jason Rykse, was, at all times relevant hereto, employed by Comstock

Park Public Schools as the principal of Stoney Creek Elementary School.

       3.      Plaintiff, Joseph Gritter, is a minor child filing this action through his mother and

Next Friend, Casey Gritter, and they both reside in the unincorporated area called Comstock Park,

Kent County, State of Michigan.

       4.      The amount in controversy exceeds $75,000.00.

       5.      This matter is premised upon the Defendants’ violations of Title IX, 20 U.S.C.

§1681, and therefore federal question jurisdiction is established.

       6.      The Title IX violations took place at Stoney Creek Elementary Schools and the

Comstock Park Public Schools district in Kent County, Michigan, and therefore venue is properly

laid in the Federal District Court for the Western District of Michigan.

                                      FACTUAL ALLEGATIONS

       7.      In January of 2017, Joseph Gritter was a first grader at Stoney Creek Elementary

School that was operated and staffed by Defendant Comstock Park Public Schools.

       8.      At all times pertinent hereto, Defendant, Jason Rykse, was the principal of Stony

Creek Elementary School, and was the highest ranking Comstock Park official that worked in

Stony Creek Elementary School.

       9.      In 2017 Joseph Gritter was a first-grade student in Stoney Creek Elementary

School.

       10.     In January of 2017 a student “KJ” was also a student in Joseph Gritter’s classroom,

and KJ showed his penis to Joseph and told him to touch it.

       11.     KJ told Joseph that he would be a snitch if he told on him.




                                                 2
   Case 1:18-cv-01209-JTN-ESC ECF No. 1 filed 10/26/18 PageID.3 Page 3 of 16



         12.   Joseph told his teacher who immediately sent Joseph to the principal, Defendant

Rykse.

         13.   Defendant Rykse spoke to KJ in his office, and KJ denied what he had done.

         14.   Defendant Rykse told Joseph he was lying and punished him by keeping him in the

office all day and failed to inform Joseph’s parents of these incidents.

         15.   Joseph informed his mother of the aforementioned events and she called the

principal, Defendant Rykse, who investigated further and confirmed that Joseph was being

truthful.

         16.   After Joseph informed the principal about KJ’s sexual harassment, KJ began

bullying Joseph on a regular basis in retaliation for telling on him for the sexual harassment KJ

made to Joseph by showing him his penis and demanding that he touch it.

         17.   Shortly thereafter, on February 2, 2017, Joseph’s mother sent an email to the

principal Defendant Rykse with an impassioned plea on Joseph’s behalf describing in detail the

intolerable bullying and harassing KJ was inflicting on Joseph for the rejected advance and telling

the authorities of the advance.

         18.   In April of 2017, KJ spit on Joseph’s lunch. Joseph asked for a new lunch and the

school denied his request. The principal, Defendant Rykse told Joseph’s mother that only three of

his chicken nuggets had been spit on and Joseph could have eaten the rest.

         19.   The bullying continued until the end of the school term in June, 2017.

         20.   When the new school year began, the repetitive pattern of KJ bullying Joseph in

retaliation for his rejection of KJ’s invitation to touch his penis, and then Joseph reporting KJ’s

sexual harassment to the principal resumed.




                                                 3
  Case 1:18-cv-01209-JTN-ESC ECF No. 1 filed 10/26/18 PageID.4 Page 4 of 16



       21.     KJ told Joseph that Joseph was gay in a derogatory fashion, and also told him that

he looked like a girl and dressed stupid, then stabbed him in the hand with a pointed wood chip,

leaving a wound on his hand. Defendant Rykse was informed of these events in a telephone call

from Joseph’s mother.

       22.     On September 13, 2017, Joseph’s parents sent the principal, Defendant Rykse an

email complaining that the bullying was continuing, and that KJ recruited two of his friends,

identified as Deonte and Nyashia, who had begun participating in the harassment and bullying and

that it was negatively affecting Joseph’s emotional well-being and his behavior, and she requested

assistance:

                        Mr. Rykse
                        I’m not sure if you remember the issues we ran into last year
                        or not with Joseph (Gritter) and being bullied etc. It seems
                        like he is having issues yet again this year and we are really
                        trying to get to the bottom of it. We started having some
                        behavioral issues with him at home specifically on school
                        nights when it was time to go to bed...throwing fits about
                        school the next day etc. We have had him start seeing a
                        counselor to hopefully help us resolve some of this and at
                        least lessen him trying to avoid school. He repeatedly tells
                        us and other adults that certain kids are being mean to him.
                        He continually asks to stay home from school, or most
                        recently has asked to be homeschooled and will cry for
                        sometimes an hour or more at night about not wanting to go.
                        This is all very unlike him.
                        It is all very odd because despite these issues he loves
                        learning and he loves school itself. He is telling us certain
                        kids are mean to him etc. and that is why he wants to stay
                        home.
                        We are still, like I said, trying to pinpoint exactly what is
                        going on because he sometimes seems embarrassed to talk
                        about it but it is my hope by reaching out to you that we may
                        have better luck. If you notice anything or his teacher
                        notices anything can you please reach out to me or his dad
                        and just keep us updated. I do not want this to go unnoticed
                        or unresolved especially since it is now effecting his
                        behavior outside of school (something we had no issues with
                        over the summer).

                                                  4
  Case 1:18-cv-01209-JTN-ESC ECF No. 1 filed 10/26/18 PageID.5 Page 5 of 16



                       I’m also asking that if there are any issues to please have
                       them call home. Ide appreciate to stay informed if he is sent
                       to pbis or anything of that nature and receive a phone call
                       about any issues so we can talk with Joseph. Often times he
                       will tell us he is sent to pbis but no one bothers to inform us
                       of the issues and it seems most recently he has been telling
                       us a certain kid is going to pbis about him and he has come
                       home very upset over it.
                       Thank you for your time and concern with this.
                       Casey and Mike Gritter

       23.     On September 25, 2017, Joseph came home with a welted handprint on his back,

and other bruises that were administered by Deonte at the urging of KJ and were the result of the

pattern of retaliation for Joseph’s rejection of KJ’s invitation to Joseph to touch his penis.

       24.     Joseph reported the assault to his teacher, but the school did not notify the parents.

       25.     Joseph’s mother photographed the handprint, sent it to Defendant Rykse with a

demand that action be taken to protect her son:

               Joseph came home today with bruises and a wiggly tooth (luckily it
               is a baby tooth). He said Deonte pushed him down, he hit his face
               on the cement and then kicked him with his knee onto the cement so
               hard that his thigh is bruised and red. I am attaching pictures of the
               bruises. I
               want to know how this is being handled. Joseph said he told his
               teacher and NOTHING WAS DONE.
               You can also inform this child’s mother that one more incident will
               result in us pressing charges.
               My child is being harassed and attacked at school under Comstock
               Park public schools supervision thus you are charged with ensuring
               his safety and that is not happening. We did not receive so much as
               a phone call even though Joseph told his teacher immediately!

       26.     The principal, Defendant Rykse, did not even respond to the email.

       27.     On September 28, 2017, Joseph suffered retaliatory harassment in the form of

assaults by KJ and others that left bruises on Joseph’s thighs, and Joseph’s mother sent

photographs of these bruises to Defendant Rykse.




                                                  5
  Case 1:18-cv-01209-JTN-ESC ECF No. 1 filed 10/26/18 PageID.6 Page 6 of 16



         28.   The next day, September 29, 2017, the retaliatory bullying and harassment that was

being administered in retaliation for Joseph’s refusal and reporting of KJ’s invitation to touch his

penis continued. After being unable to reach Defendant Rykse by phone, Casey wrote an email to

him as follows:

                       Mr. Rykse
                       Joseph came home today crying again saying that these kids
                       told him today that "they called a name 3x and now there
                       was a spirit that they talked to that was
                       going to come to his house at night and haunt him and stab
                       him while he was sleeping" He is a SECOND grader and this
                       is absurd.
                       If there is not a stop put to this and it is not taken seriously I
                       will be taking it to the attention of the superintendent. No
                       second grader should be bullied and told these things and
                       enough is enough.
                       please let me know how the school plans to resolve this
                       ongoing issue.
                       thanks
                       casey gritter

         29.   The principal, Defendant Rykse, responded that he would look into it the next day,

but never got back to Joseph’s parents or returned their phone calls.

         30.   After Rykse responded that he would look into it the next day, Casey sent a second

email:

               Thanks. As if we did not have enough struggle with getting
               Joseph to go to bed and encouraging him to go to school, he is now
               terrified of sleeping in his room. Not only that but he is afraid of
               telling on these kids because he just wants to have friends.
               My husband and I are just shocked that this is how kids act
               now and we can’t tolerate it.
               Hopefully this gets figured out.

         31.   Once again, Defendant Rykse ignored Casey Gritter’s pleas to help and protect her

son, so Joseph’s father, Mike Gritter, sent the following email:

               Jason



                                                   6
  Case 1:18-cv-01209-JTN-ESC ECF No. 1 filed 10/26/18 PageID.7 Page 7 of 16



              My wife has emailed and called all day with no response in regards
              to something that happened yesterday with Joseph. Is someone
              available to call us tonight? This seems to be going ignored and its
              not going to fly any longer. We have taken pictures of Josephs
              substantial bruising and we will press charges against this child if
              the school does not respond and handle this with seriousness.
              Sincerely,
              Mike Gritter

       32.    On October 16, 2017, Joseph reported to school officials that KJ, Deandre, Deonte

and Nyashia spit on him and his food at lunch. (He requested a new lunch and, once again, he was

denied new and sanitary food, and school officials refused and let him go hungry.)

       33.    On October 19, 2017, Joseph’s father wrote the following email to Defendant

Rykse reiterating the complaints of sexual harassment and bullying being inflicted by his

classmates, and how the school staff were protecting the harasser and bullies instead of stopping

the harm:

              Jason,
              My wife and I have yet to hear back from you, or even Josephs
              teacher regarding my wife’s most recent email to you about how she
              told joseph to quit tattling.
              I’m wondering how this is being handled. Joseph has multiple adults
              telling him to tell if something happens so when he seen someone
              steal, he thought that was the right thing to do (rightfully) and it was
              not appropriate for her to imlpy to him that made him a "tattle tale". I
              am also wondering if there is now a concrete plan put into place on
              how these issues will be solved because we have now been dealing
              with this and emailing the school for 2 months non-stop with no
              resolution at all and it has been one thing after another after another
              after another and I just am not seeing the effort to communicate or
              solve the problem from the schools end so please email me back and
              communicate the resolution to these issues, if any.

              Let me just say that I am more concerned about the BIGGER issues
              that are disrupting Josephs day and learning than I am about how
              often he is bothering his teacher. Clearly, we are concerned about
              the frequency of the issues to or we obviously wouldn’t be emailing
              everyday. Logic would say that if he was not having so many issues
              then the frequency wouldn’t be so often. From my understanding
              you want my son who is being bullied by both students and the

                                                 7
  Case 1:18-cv-01209-JTN-ESC ECF No. 1 filed 10/26/18 PageID.8 Page 8 of 16



               teachers he looks to for help to now have to write this down on a
               form every time. A 2nd grader? Your school did not notice when
               another student exposed his penis to him, when he came home with
               bruises or a loose tooth, or when someone spit all over his food at
               lunch and you want him to take the time to go write on a form when
               this stuff happens? It’s a shame and absolutely disgraceful that an 8
               year-old kid has not one single person willing to listen to him when
               stuff like this happens which I dont exactly consider "Minor" like
               his teacher put it.
               Can you get us in touch with the superintendent?
                Also, on a further note, if joseph is such a "disruption" to this
               teacher then perhaps he be moved to a better classroom because
               clearly this lady is to busy to bother with the care of the kids she has
               in her room.
               As I said, I am disgusted that the school’s response to this is to
               punish my child further instead of just listening. I am sorry that the
               school feels they can’t be bothered to address a clear issue it has and
               instead chooses to brush it aside further rather than deal with it. The
               issue isnt joseph "tattling", the issue is these kids who aren’t facing
               consequences for the bullying.
               If she thinks tattling is disrupting his day then I’m not sure how she
               doesn’t think being shown a child’s genitals, and having his lunch
               spit on is not disruptive.
               I will gladly take this to someone higher who will listen, as I’m sure
               you would do for your child, and I will continue to do so until it is
               put to a stop. This "form" does absolutely nothing for him and does
               not fix the real issue of what is happening to him weekly.

       34.     Defendant Rykse’s response to the October 19, 2017 email was to require Joseph,

a second-grader, to complete a form whenever he wants to report sexual harassment or physical

assault. Joseph, who was still learning to write, was prohibited from reporting sexual harassment

or assaults orally, and required to complete a form.

       35.     At an October 24, 2017 parent/teacher conference, Joseph’s parents met with his

teacher, Angie Freeland, and principal Defendant Rykse, and they agreed upon a plan whereby the

school would immediately contact the parents when Joseph was seen by the teacher, principal or

PBIS for any behavioral issues whatsoever, and Joseph would be allowed to report any concerns

directly to Rykse, and the parents would be notified any time he reports physical or verbal abuse.



                                                  8
  Case 1:18-cv-01209-JTN-ESC ECF No. 1 filed 10/26/18 PageID.9 Page 9 of 16



          36.   On or around October 31, 2017, KJ and Deonte punched and grabbed Joseph in the

genitals, and called him gay, an act of sexual harassment. Defendant Rykse was informed of these

events.

          37.   Throughout the 2017-2018 school year KJ routinely called Joseph a “faggot” and

“gay” and threatened to “chop off his balls with a katana”, threatened to “hit him in the balls with

a sledge hammer for being gay”, and kicked him in his genitals on numerous occasions, all of

which was in retaliation for Joseph’s rejection of KJ’s invitation to touch his penis and subsequent

report of that harassment to Defendant Rykse.

          38.   In response to Joseph’s complaints of sexual harassment and related bullying, the

Defendant Comstock School’s staff sought to ignore the sexual harassment and retaliation Joseph

was suffering and repeatedly falsely told Joseph that he was a liar and a tattler and did not

investigate the complaints or take any action to curtail the wrongdoing.

          39.   On October 16, 2017, Joseph’s mother sent the following email outlining the

harassment Joseph was experiencing from KJ and his associates, and that the school staff was also

engaging in harassing behavior, which all emanated from the original act where KJ showed Joseph

his penis and asked him to touch it:


                “Mr.Rykse,
                I wanted to send a follow up email to our phone conversation
                because I will be in a meeting for a majority of tuesday and may not
                be able to take a phone call until early afternoon. I also wanted to
                give you more specific details of what Joseph has told us so that you
                can accurately handle this situation.
                He said that his lunch and face were spit on. He told us he told an
                aid right away and she told him to sit down and eat his food (that
                just got spit on). He did not get another lunch so he said he threw it
                away. He said the aid then took the boys to pbis. From what I gather
                it was joseph, mason, and kj. I apparently had a detail confused and
                was under the impression kj spit on joseph but joseph corrected me
                this evening and said it was actually mason who did it, not kj so i

                                                  9
 Case 1:18-cv-01209-JTN-ESC ECF No. 1 filed 10/26/18 PageID.10 Page 10 of 16



              apologize for that. Im not sure what Kjs role in this was or why he
              was there. Joseph denys spitting back at mason in retaliation (and i
              have asked several times and he swears he is telling the truth) and
              so far, Im inclined to believe him.
              Once he got to pbis he said that Kim repeatidly accused him of lying,
              told him she would call home etc (it literally sounds like she is just
              as bad as these bullys).
              I am at a loss as to what to do from here because the last incident
              with kim, When she did not even make a call home, I was under the
              impression the new plan was for Joseph to not even go to her any
              longer. That aside, WHEN i did speak to her PREVIOUSLY i made
              it CRYSTAl clear to her that if my child was in her room for any
              reason WHATSOEVER (at fault of his or not) then she was to
              contact me that day. I can provide those emails if you want but i
              have clearly communicated this MULTIPLE TIMES and she
              blatantly disregarded this. That is NOT acceptable at all. We cannot
              help our son if she/the school is unwilling to keep us updated on
              issues.
              Someone, somewhere continues to drop the ball on this, and im
              eager to get to the bottom of what happened yesterday.
              I guess my main points/questions are as follows;
              - Why did she not notify us?
              -Why did she not notify you?
              - What does she claim she said to Joseph?
              -Why was Josephs recess taken away?
              -Why was he not given another lunch?
              -Why was he punished for seeking help?
              Im aware that you were nor aware of this yesterday but that in and
              of itself is a big enough problem as well...
              I would like answers to these questions and I also want to hear the
              other side of this story because I cant fathom how anyone would
              think a child getting spit on and then not having a lunch is not
              something you can or should give his mother a call over?
              Please feel free to email me with whatever you come up with today
              if I cannot get to my phone and I will call you back as soon as Im
              able.
               Josephs conferences are Tuesday the 24th at 5:45pm and if it’s
              necessary for me to meet with you and Kim that day as well so that
              these issues can be put to rest and we can have a solid plan for joseph
              then that should be arranged.
              Thanks
              Casey Gritter”

       40.    On January 22, 2018, Joseph came home and informed his mother, Casey Gritter,

that Deonte had pushed him to the ground, took his hat, kicked his backpack, and he had a mark

                                                10
 Case 1:18-cv-01209-JTN-ESC ECF No. 1 filed 10/26/18 PageID.11 Page 11 of 16



on his leg from the assault. Joseph informed an aide employed by Defendant Comstock Schools

immediately after these events occurred, but the aide merely told him to get back in line and took

no action to curb the harassment and retaliation. Casey called Defendant Rykse and reported the

bullying and harassment of that day, and he said that he would “check on it”, but he did not do so.

       41.     On January 24, 2018, Casey emailed Defendant Rykse after Joseph came home

complaining of more physical abuse. She emailed Rykse the following message:

               Jason
               Can you please talk with Joseph today and get to the bottom of what
               has been occuring this week and last. He has complained everyday
               that Deonte has been hitting him and pushing him. He said he has
               a substitute and every time he asks to go to the office or pbis he has
               been told no. He stated his lunch was spit on again and he was not
               given a new one and told he could not go to Pbis.
               Yesterday he came home and said Deonte tackled him in line
               because Joseph would not give up his spot and then proceeded to
               punch and kick him. He said he had to kick deonte to get him off
               of him and that he went to his teacher right away but He again said
               his sub told him he could not go to the office over it.
               Thanks
               Casey”

       42.     Again, Defendant Rykse did not respond to this email.

       43.     On January 25, 2018, Joseph came home with a bruise on his eye, a bloody nose,

and his tooth knocked loose. He said a group of 4 boys including KJ had cornered him at recess,

dragged him over to Deonte and began yelling “fight fight fight”. He stated he tried to get away

from the boys and they proceeded to beat him up. Joseph stated an entire crowd of kids was present

and no aides stopped it.

       44.     On January 26, 2018, Joseph came home late and crying hysterically. He told his

parents that Defendant Rykse had kept him in his office all day long with Deonte, a close friend

of KJ that, upon KJ’s urging, had regularly bullied and harassed Joseph in retaliation for Joseph’s

refusal to touch KJ’s penis when offered and then reporting that sexual harassment to school

                                                 11
 Case 1:18-cv-01209-JTN-ESC ECF No. 1 filed 10/26/18 PageID.12 Page 12 of 16



officials. Defendant Rykse forced Joseph to write down what happened in the incident on January

25 when Joseph was beaten. Then Defendant Rykse forced Joseph to write it down again.

Defendant Rykse continuously called Joseph a liar. Defendant Rykse allowed Deonte to go back

to class but kept Joseph in his office secluded from everyone. Defendant Rykse did not allow him

to go to class, lunch, or recess. Defendant Rykse kept him away from any staff and any other

students all day. There was no one Joseph could ask for help. Defendant Rykse told Joseph that

he would sleep in the school overnight and not see his family anymore if he “could not tell the

truth.” Joseph continued to say that he was telling the truth, and, in fact, he was telling the truth.

       45.     On January 26, 2018 Defendant Rykse held Joseph captive in his office and would

not let Joseph go home on the bus. Defendant Rykse told him he would be staying at the school

and not getting on the bus because he would not recant his story. Joseph told him that he had a

bowling night planned with his dad that night and really wanted to go home. Defendant Rykse

said, “too bad, I guess you should tell me the truth.” Defendant Rykse told Joseph his sister had

gotten on the bus to go home and that he would now be stuck in the school alone overnight. Unable

to resist the duress, Joseph falsely recanted and Defendant Rykse finally let him leave.

       46.     Casey called Defendant Rykse immediately after Joseph returned home. Defendant

Rykse stated that Joseph had lied the entire time. Casey told Defendant Rykse that he had terrified

and threatened her son. Defendant Rykse just laughed. Casey stated that Joseph had not been

lying and his story was the same to his parents, to the police officers, and to him. Defendant Rykse

stated that Joseph could have “ran away” from the boys that attacked him and Casey responded

that that Joseph could not run away when he was surrounded by five boys. Defendant Rykse said

“he never told me that part.”




                                                  12
 Case 1:18-cv-01209-JTN-ESC ECF No. 1 filed 10/26/18 PageID.13 Page 13 of 16



          47.   Casey reminded Defendant Rykse that she had told him this when she spoke to him.

(As Casey learned later, Joseph had included this in the reports that Defendant Rykse forced Joseph

to prepare.) Defendant Rykse went on to say:

                “What would you really like me to do about it?”

                “This has consumed my entire day.”

                “I have wasted all my time on this.”

                “Maybe he should tell the truth.”

                “He’s a lot bigger than those kids so I don’t really see why he didn’t fight back.”

          48.   On February 5, 2018, Joseph was moved to another school due to the

aforementioned safety concerns and unremitting sexual harassment and related retaliation allowed

to go unchecked and uninvestigated by Defendant Comstock Schools and Defendant Rykse.

          49.   On March 13, 2018, Casey and Joseph’s father, Mike Gritter, received a letter from

Defendant Comstock Schools’ Superintendent Ebenstein. He stated that there had been an

investigation and, based upon that investigation, the school district had accepted Rykse’s

resignation. The letter also states that the Plaintiff’s “allegations” were considered “substantiated”

at this point in time.

          50.   As is clear from the abovementioned facts, after Joseph made the initial complaint

of sexual harassment to school officials whereby, KJ showed him his penis and asked him to touch

it, Defendant Rykse called Joseph a liar. He continued to retaliate against Joseph, continuing to

call him a liar, up until Joseph’s last day at the school, when he falsely imprisoned Joseph in his

office.

                COUNT I: VIOLATION OF TITLE IX SEXUAL HARRASSMENT

          51.   All paragraphs are repeated.



                                                 13
 Case 1:18-cv-01209-JTN-ESC ECF No. 1 filed 10/26/18 PageID.14 Page 14 of 16



        52.     Defendant Comstock Park Schools is, and was at all relevant times, a recipient

Federal financial assistance.

        53.     Title IX states: “No person in the United States shall, on the basis of sex, be

excluded from participation in, be denied the benefits of, or be subjected to discrimination under

any education program or activity receiving Federal financial assistance.” 10 U.S.C. 1681(a).

        54.     Plaintiff Joseph was subjected to the described instances and more instances not

itemized herein of repeated unwelcome sexual harassment and retaliatory harassment and bullying

related to the overtly sexual harassment that was so severe, intimidating, hostile, abusive,

persistent, pervasive and objectively offensive that it interfered with, limited and effectively barred

Plaintiff’s access to, or ability to, participate in or benefit from access to an educational opportunity

or benefit.

        55.     Defendant Comstock Schools and Defendant Rykse had authority over the

harassers including, but not limited to, KJ, Nyashia, and Deonte and their associates all of whom

engaged in bullying , harassing and intimidating Joseph as retaliation that directly resulting from

KJ’s original sexual harassment of Joseph whereby he showed Joseph his penis and asked him to

touch it, and then Joseph refused and reported the sexual harassment to school officials.

        56.     Defendant Rykse’s aforementioned actions toward Joseph including the

interrogations and the false imprisonment in the school office furthered the harassment and related

retaliation toward Joseph, all of which originated from and flowed from KJ’s original sexual

harassment of Joseph whereby he showed Joseph his penis and asked him to touch it, and then

Joseph refused and reported the sexual harassment to school officials.

        57.     All Defendants had a duty to investigate the harassment that it had knew of, had

been informed of, or reasonably should have known of, in a prompt, thorough and fair manner.



                                                   14
 Case 1:18-cv-01209-JTN-ESC ECF No. 1 filed 10/26/18 PageID.15 Page 15 of 16



       58.     Once any of the Defendants determined that the sexual harassment had occurred

then all Defendants had a duty to take reasonable effective steps to end harassment and protected.

       59.     All Defendants knew or should have known about the sexual and related retaliatory

harassment of Plaintiff but failed to take action that was reasonably calculated to end the

harassment and the related retaliation and prevent it from happening again.

       60.     All Defendants knew or should have known about the sexual harassment and

related retaliatory harassment of Plaintiff and acted with deliberate indifference toward the

harassment and the harassers.

       61.     Defendants’ response to the harassment was clearly unreasonable in light of the

known circumstances and contributed to depriving the Plaintiff of his rightful education

opportunities and benefits.

       62.     Plaintiff has suffered, and will continue to suffer, great non-economic damages

including pain and suffering, mental anguish, fright and shock, denial of social pleasure and

enjoyments, embarrassment, humiliation and/or mortification, and the loss of educational

opportunities and benefits due to the Defendants’ violations of Title IX.

       WHEREFORE, Plaintiff prays this Honorable Court to enter judgment in favor of Plaintiff

and against the Defendants in whatever amount fairly compensates Plaintiff for his damages, plus

costs, interest and attorney fees.

                                      Respectfully submitted,
                                      CHRISTENSEN LAW

                                BY:   /s/DAVID E. CHRISTENSEN
                                      DAVID E. CHRISTENSEN (P45374)
                                      SARAH S. STEMPKY KIME (P74167)
                                      CHRISTENSEN LAW
                                      Attorneys for Plaintiff
                                      25925 Telegraph Road, Suite 200
Date: October 26, 2018                Southfield, MI 48033

                                                15
 Case 1:18-cv-01209-JTN-ESC ECF No. 1 filed 10/26/18 PageID.16 Page 16 of 16



                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

 CASEY GRITTER, the Natural Mother and
 Next Friend of JOSEPH GRITTER, a minor,

                Plaintiff,                              Case No: 1:18-CV-1209
                                                        Hon.
 vs.

 COMSTOCK PARK PUBLIC SCHOOLS
 and JASON RYKSE,

             Defendants.
___________________________________/

 DAVID E. CHRISTENSEN (P45374)
 SARAH S. STEMPKY KIME (P74167)
 CHRISTENSEN LAW
 Attorneys for Plaintiff
 25925 Telegraph Road, Suite 200
 Southfield, MI 48033
 (248) 213-4900/Fax (248) 213-4901
 dchristensen@davidchristensenlaw.com
___________________________________/

                                DEMAND FOR JURY TRIAL

       NOW COME the Plaintiff, CASEY GRITTER, the natural mother and next friend of

JOSEPH GRITTER, a minor, by and through their attorneys, CHRISTENSEN LAW, and hereby

demand a trial by jury in the above-entitled matter.

                                      Respectfully submitted,
                                      CHRISTENSEN LAW

                              BY:     /s/DAVID E. CHRISTENSEN
                                      DAVID E. CHRISTENSEN (P45374)
                                      SARAH S. STEMPKY KIME (P74167)
                                      CHRISTENSEN LAW
                                      Attorneys for Plaintiff
                                      25925 Telegraph Road, Suite 200
Date: October 26, 2018                Southfield, MI 48033


                                                16
